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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

MOBILE TELECOMMUNICATIONS                      §
TECHNOLOGIES, LLC,                             §
                                               §
                     Plaintiff,                §
                                                          Case No. 2:13-cv-946-JRG-RSP
                                               §
v.                                             §                   LEAD CASE
                                               §
ZTE (USA) INC.,                                §
                                               §
                     Defendant.
                                               §
                                               §
MOBILE TELECOMMUNICATIONS                      §
TECHNOLOGIES, LLC,                             §
                                               §
                     Plaintiff,                §          Case No. 2:13-cv-948-JRG-RSP
                                               §
v.                                                         JURY TRIAL REQUESTED
                                               §
HTC AMERICA, INC.,                             §
                                               §
                     Defendant.                §

     P. R. 4-3 JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

       Pursuant to P.R. 4-3, Plaintiff Mobile Telecommunications Technologies, LLC (“MTel”

or “Plaintiff”) and Defendant HTC America, Inc. (“HTCA” or “Defendant”) respectfully submit

this Joint Claim Construction and Prehearing Statement.

       I.      Agreed Claim Constructions

       Exhibit A identifies the constructions of those claim terms, phrases, or clauses on which

the parties agree. Consistent with this Court’s prior orders, the claim terms are separated by

patent and terms drafted pursuant to 35 U.S.C. § 112(f) are presented under the patent in which

they appear.

       II.     Disputed Claim Constructions

       Exhibit B identifies the disputed claim terms and each party’s proposed constructions.
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        Exhibit C identifies MTel’s proposed constructions for each disputed claim term and

known intrinsic and extrinsic evidence on which MTel intends to rely, including a summary of

the expert testimony of Dr. Jay Kesan, upon which MTel will rely in support of its constructions

and to rebut the testimony of HTCA’s expert that any claim terms are invalid as indefinite.

        Exhibit D identifies HTCA’s proposed claim constructions and known intrinsic and

extrinsic evidence on which HTCA intends to rely.

        Exhibit E provides a summary of the expert testimony of Dr. William Beckmann, upon

which HTCA will rely in support of its position that specified claim terms are invalid as

indefinite.

        Exhibit F is a copy of the expert report of Dr. William Beckmann in the matter of Mobile

Telecommunications Technologies, LLC v. Amazon.com, Inc., 2:13-CV-883-JRG-RSP, which is

referenced by, and incorporated in, HTCA’s summary of the expected testimony of Dr.

Beckmann.

        III.   The Claim Construction Hearing

        The Parties anticipate needing approximately 5 hours for the Claim Construction

Hearing.

        IV.    Witnesses at the Claim Construction Hearing

        The Parties do not anticipate calling witnesses at the Claim Construction Hearing.

Should the Parties choose to depose the opposing party’s expert witness regarding claim

construction, the Parties reserve the right to play testimony from those depositions.

        V.     The Prehearing Conference

        At this time, the Parties are not aware of any issues that need to be taken up at the

prehearing conference.




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Dated:      November 23, 2015                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I hereby certify that on November 23, 2015, the foregoing was filed through the CM/ECF

system of the U.S. District Court, Eastern District of Texas, which served a copy by electronic

mail on all counsel deemed to have consented to electronic service.

                                                     /s/ Dustin L. Taylor
                                                     Dustin L. Taylor




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